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                             UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

In re
                                                          Case No. 16-bk-11983-REF
TIMOTHY DOUGLAS HAYES,
                                                          Chapter Number: 7
                      Debtor.

315 BOWERY HOLDINGS, LLC and
CBGB FESTIVAL, LLC
                                                           Adversary No. 16-186
                      Plaintiffs,
         v.                                                STATUS REPORT1
TIMOTHY HAYES,
                      Defendant.


         Pursuant to the Court’s December 23, 2016 Order in this Adversary Proceeding

(Adv. Dkt. No. 33), by which the Court stayed the above Nondischargeability Action pending a

final determination and judgment in the New York state court action SW Productions, Inc. v.

CBGB Festival, LLC, No. 652990/2014 (Sup. Ct. N.Y. County 2014) (the “New York Action”),

Plaintiffs 315 Bowery Holdings, LLC and CBGB Festival, LLC (together, “CBGB”), through

their undersigned counsel, hereby submit this Joint Status Report outlining the status of the New

York Action since the parties’ last report.




1
  CBGB is filing this report on its own behalf, and not as a “Joint” report with Debtor-Defendant Timothy Hayes.
Counsel for CBGB has not received any response to its communications to Hayes’s counsel regarding this Status
Report, including after it sent Hayes’s counsel a draft of this report on Thursday, June 29, 2017 and again on Friday,
July 7, 2017.
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       1.      On May 30, 2017, counsel of record for Stuart Weissman and SW Productions

Inc. wrote to Justice Jeffrey K. Oing seeking a “45 day extension of all the applicable discovery

dates on account of a medical condition.” (New York Action, Dkt. No. 239)

       2.      On June 9, 2017, upon the consent of the parties, the Court entered an order

staying responses to written discovery requests until July 17, 2017, ordering depositions of all

parties to be completed by September 30, 2017 and extending the date for the completion of all

disclosure to October 30, 2017. (See New York Action, Dkt. No. 241.)

       3.      Justice Oing is no longer serving as the assigned justice on this matter, as he was

appointed to the New York Appellate Division, First Department, as of June 12, 2017. The

parties are presently awaiting reassignment of this matter to another trial court justice.

       4.      CBGB intends to make a motion before this Court to lift the bankruptcy stay for

the limited purpose of conducting the deposition of Timothy Hayes in both the New York and

Nondischargeability Actions.


Respectfully Submitted: July 10, 2017

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